Case 1:22-cv-00109-AJT-IDD           Document 3           Filed 01/24/22     Page 1 of 2 PageID# 34



  United States District Court for the Eastern District                    r—

                              of Virginia
                                                                                  o
                                                                                      32
                              File Number: No Case Number'i4Signed- " * '


  DORA L. ADKINS


                                               )
                                               )          Notice of Appeal
                                               )
                                               )


 DRIFTWOOD SPEICAL SERVICING,LLC



        Notice is hereby given that Dora L. Adkins. pro se,(plaintiff),(defendants)
 in the above-named case,* hereby appeal to the United States Court of Appeals for the 4l!:_Circuit
(from the prefiiing order)(denied Plaintiffs Motion for Leave from the Court to file an
Emergency Complaint))entered in this action on the 6^ day of Januarv. 2022.




                                                          Attorney for DORA L. ADKINS,PRO SE

                                                                           Address: P.O. BOX 3825


                                                                           MERRIFIELD, VA 22116

[Note to inmatefilers:Ifyou are an inmate confined in an institution and you seek the timins
benefit ofFed. R. App. P. 4(c)(1). complete the Declaration ofInmate Filing andfile that
declaration along with this Notice ofAppeal]



* See Rule 3(c)for permissible ways of identifying appellants.

12/01/2016 see
Case 1:22-cv-00109-AJT-IDD               Document 3        Filed 01/24/22     Page 2 of 2 PageID# 35



                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                  Alexandria Division


  DORA L. ADKTNS,
                   Plaintiff,
                                   V.       Civil Action Nn •

  DRIFTWOOD SPEICAT.SERVTCrNG, T T
                   Defendant.


 ,^ ,                                        CERTIFICATION
 1 declare under penalty of perjury that:

  No attorney has prepared or assisted in the preparation of this document.
  Dora L. Adkins

  Name of Pro Se Party rPrint or Tvpp)
 Executed on January 24. 7079


                                                     OR

 Dora L. Adlrins


 ("Name of Attorney)

 No Telephone Niimhpr

(Telephone Number of Attompy)

Prepared or assisted in preparation of thi.s document.
Dora L. Adkin.s

Name of Pro Se Party fPrint or Tvppi




Signature of Pro Se Party (Print or Type)
Executed on January 7.4, 9099
